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EXHIBIT “E”
Case o-24-OoU0/1-aSt DOC lo-o Fined lifly/24 centered t1/Ly/24 LUiogio6

March 19, 2020

Al and Meghan LaBella

Biue Diamond Sheet Metal, Inc.
1165 Station Road

Medford, NY 11763

Dear Mr. & Mrs. LaBella:

We have reviewed your request for financing. BNB Bank (the “Bank’) is pleased to provide
thls Term Sheet to summarize the preliminary terms and conditions under which the Bank
would consider originating credit facilities to you through a program of the U.S. Small
Business Administration (the “SBA”). This proposal is based an our evaluation of facts
currently presented and known to us, Any material change in the facts as presented or as
disclosed during our due diligence process could result In a revision to all or part of the
terms contained herein, including complete withdrawal. These terms are subject to change
and any financing to be provided by the Bank will be subject to approval by the Bank and
other parties as applicable.

Loan Types: 1} SBA 7a Term Loan
2) SBA 504
3} Business Line of Credit
4) Business Line of Credit

Loan Amount: 1) $4,500,000, or 100% of appraised business and equipment
value, whichever is less
2) $2,250,000, or 50% of the appraised property value,
whichever is less
3) $2,206,000
4} $1,000,000

Borrower(s): 1) Blue Diamond Sheet Metal, Inc.
2) Blue Station Realty LLC
3) Blue Diamond Sheet Metal, Inc.
4) Diam-N-Blu Mechanical Corp

Guarantor(s): 1) Al LaBella, Meghan LaBella, Blue Station Realty, Mirage
Mechanical Systems Inc., Blam-N-Blu Mechanical Corp.
2) Al LaBella, Meghan LaBella, Blue Diamond Sheet Metal, Inc.,
Mirage Mechanical Systems Inc., BDlam-N-Blu Mechanical Corp,
3) Al LaBella, Meghan LaBella, Mirage Mechanical Systems
Inc., Diam-N-Blu Mechanical Corp.
4) Al LaBella, Meghan LaBella, Mirage Mechanical Systems
inc., Blue Blamond Sheet Metal, Inc,
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SBA Fees:

SBA 7A Packaging Fee:

Interest Rates:

Loan Term/
Amortization:

Prepayment
Penalty:

Minimum Debt Service
Coverage Ratio (DSCR):

Collateral:

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These fees are due and payable to the SBA

1) SBA 7A guarantee $124,062.50

2) SBA 504 guarantee .05% of the loan amount

3) SBA 504 Funding fee .025% of the loan amount
4) SBA 504 processing fee .15% of the loan amount
5) SBA 504 underwriting fee approx. $5,136

1) $2,500 to be collected at approval

1) WS] Prime Rate plus 1.50%, adjusting the first day of each
calendar quarter

2} Interest will be fixed for 10 years at the 10-year US Treasury
+ 2.75%, floor of 3.50%.

3) Prime +,25% floating, floor of 3.5%

A} Prime +.25% floating, floor of 3.5%

1) 10 year (120 months) term, fully amortizing

2) 10 year (120 months} term, amortizing based on 25-year
schedule

3) 1 year term, interest only

4) 1 year term, interest only

1) There is no prepayment penalty

2) Borrower may prepay the principal balance, in whole or In
part, subject to a prepayment penalty of five (5%) percent of
the amount so prepaid in the event said prepayment occurs
during the first two years of the Loan; four (4%) percent of the
sum prepaid during years three and four of the Loan; three
(3%) percent of the sun prepaid during years five and six of
the Loan; two (2%) percent of the sum prepaid during years
seven and elght of the Loan; and one (1%) percent of the sum
prepaid during year nine and no prepayment penalty during the
last year of the Loan term, Borrower may prepay up to ten
(10%) percent of the principal balance of the Loan each year
without penalty or premium.

3) none

4) none

1.25x measured against EBITDA commencing with 12/31/2020
fiscal perlod

1,2, 3 & 4) UCC filing on all assets of Borrower and Corporate
Guarantors.
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1) The SBA standard for available collateral must be met,
requiring pledges of residential properties from principals
with ownership in excess of 20%.

2) 1® mortgage, assignment of rents and leases, on property
at 1165 Station Road, Medford, NY, 100% occupied by Blue
Diamond Sheet Metal and affiliates

Deposit Accounts: The SBA loans require the Borrowing Entity(s) to maintain a
deposit account with BNB for payment purposes. BNB
conventional loans require the Borrower to maintain their
primary operating accounts with the Bank.

Other Conditions: The proposal for facility 2 ts contingent upon Borrower
obtaining SBA authorization for financing of approximately
$1,284,000,

Borrower to pay all attorney and any other costs Incurred by
BNB associated with underwriting and closing the loan including
appraisals and business evaluation,

At the Borrower’s expense, BNB will obtaln from a qualifled
appraisal firm both a business and equipment valuation, The
business valuation will determine the level of loan available for
the acquisition and substantiate the principal's equity interest in
the companies. The equipment valuation will be utilized to
determine collateral availability.

Life insurance on principals (amount to be determined) to be
assigned to Bank.

Lease - prier to closing, a lease for the business will be
required with a term to match the maturity of the proposed
loans. Also, prior to closing, all applicable insurance policies for
liability and protection of collateral assets at the business
location will be provided as well as all other polices deemed
required by Bank counsel for worker's compensation and other
related coverages,

Standby/Subordination — the shareholder loans shown on the
balance sheet will be subordinated for the term of the loan.

Advances for Facilities 3 & 4 will be subject to an advance
formula of 85% of aligible accounts receivable, A monthly
Borrowing Base Certificate with supporting schedule of aged
accounts recelvable will be required by the 10° day of each
month.

Equity Injection None anticipated but equity of remaining owners to be verified
at business valuation.
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During the term of the Loans and any extension thereof:

Use of Loan Proceeds:

Estimated Expenses:

Confidentiality:

The Borrower and Corporate Guarantors will maintain their
primary operating accounts with the Bank during the Loan
Term.

The Borrower and Corporate Guarantors shall submit to the
Bank copies of their federal tax returns within 90 days of the
date of filing,

The Borrower and Corporate Guarantors shall submit to the
Bank copies of their business financial statements, prepared by
an independent CPA within 120 days of the FYE, beginning with
FYE 2019 and semi-annual statements within 90 days of pertod
ending.

The individual Guarantor shall submit to the Bank copies of
their financial statements on an annual basis and federal! tax
returns within 90 days of the date of filing.

All shareholder and affiliated entity loans shall be subordinated
to Bank. Interest and principal payments will be permitted if
there is no event of default and debt service coverage ratios
are in compliance.

1) Purchase of 75% of the stock of all operating entities

2) Purchase of 75% of the stock of Blue Station Realty LLC and
refinance of existing 1** mortgage loan balance.

3) Working capital needs of Blue Diamond Sheet Metal Inc.

4) Working capital needs of Diam-N-Blue Mechanical Corp.

There will be expenses incurred by the Bank and pald by you in
the course of underwriting your Loan Request. These expanses
may include appraisals, searches, credit reports, flood
determinations, and other verifications, and are subject to
change. In the event your loan request is approved by the
Bank, you will aiso be responsible for paying closing expenses
including Bank counsel that will be itemized by the Bank prior
to loan closing.

This letter is delivered with the understanding that neither [t
nor its substance will be disclosed except to the Borrower, its
employees, legal counsel and accountants who are directly
involved In Borrower’s consideration of the contemplated
transactlon. Borrower agrees to advise those to whom
authorized disclosure is made of the confidential nature of this
matter.
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This letter is provided for discussion purposes only. its purpose is to set forth a
general outline of the preliminary loan terms, and does not, and should not be
construed as a commitment, implied or otherwise, on the part of the bank to provide
financing as described herein, but is merely an expression of interest. Until a
written loan commitment is issued by the Bank and accepted In writing by the
undersigned (or a designee approved by the Bank), the Bank shall have no
obligation or liability by virtue of the continuation or termination of the discussion
contemplated herein. The Bank reserves the right to alter the terms contained
herein at its sole discretion.

If you are agreeable to the terms and conditions outlined above, and wish to proceed with
this request, please sign and return this proposal along with a deposit of $15,000 that will be
applied towards out of pocket expenses including the business appraisal, equipment
evaluation, real estate appraisal and environmental report. In the event of Bank approval,
additional costs will be incurred to close the loan including attorney fees, searches, and the
guarantee fee. If the loan is not approved, any unused portion of the deposit will be refunded.
This proposal will expire in 10 days from date of this letter. If any questions arise, please call
the undersigned at (631) 537-1000 x8732.

If you are in agreement with the foregoing terms and conditions, please sign, date and return
this letter, along with the information requested.

Sincerely,

BNB Bank

ifAnt¥ Bello, SVP" .

Middle Market Commercial Lending

Please acknowledge: (i) your acceptance of the terms and conditions in this Term Sheet as of
the date first written above; a ir understanding that the terms and conditions herein
Al LaBella

are non-binding and subject 40 ch
sla/oo
Individuality andor’ behalf o
Meghan LaBelia NW an que \ \ C)
Ade

Individually and on behalf of the Borrower Dated:

|

Borrower Dated:

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h
Pursuit

Josh Lieber
Vice President
534 Broadhollow Rd., Suite 430, Melville NY 11747
Offices 616.473.2067 Fax 516.845.2705

BORROWER:

Blue Station Realty LLC

USES OF FUNDS:

Land $0.00
Building $5,740,000.00
Renovations $0.00
Equipment $0.00
Soft Costs $85,000.09

TOTAL $6,825,000.00

EQUITY CONTRIBUTION (23.16%)

DEBENTURE PRICING FOR S.B.A. 504 LOAN (26.84%)

Administrative Costs:

{. 5BA Guaranty Fee (.005x) $7,817.50
2. Funding Fee (.0024x} $3,908.75
3. CDC Processing Fee {.015x) $23,452.50
4. Closing Costs $2,500.00
5, Underwriters Fee $6,432.00

6. Total Admin. Costs

Total Debanturea Amount

$1,349,000.00

$1,663,500 00

$44,110 75

$1,608,000 00

Balance To Borrower $389,25

504 DESENTURE FINANCING

BDebenture Amount $1,608,0900.00

Fifective Interest Rate (fixed) (A) 3.03% (A)

Term (years) 25

Monthly Payment {amortized} $7,650.43
BANK FINANCING (50.00%)

Loan Amaunt $2,912,50000  -"7

Interest Rate 3.50%

Amortization (years) 25

Monthly Payment (amortized) $14,580.66

Monthly Annual

TOTAL DEBT SERVICE $22,231.09 $266,773.12
Weighted Average Interest Rate 3.33%

(A) The 504 Interest Rate is an “Effective interest Rate" which includes several
parts; the Coupon Rate, SBA rate, CDC rate and CSA rate This interest rate is a
Market driven rate which is determined on a monthly basis for each bond sale

The rate shown here is the most recent rate and should net be interpreted to be the

rate for your loan.
